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ew,

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 6:23CV34

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (f))

This summons for US Attorney General
was recieved by me on 10/30/2023:

Ct | personally served the summons on the individual at (place) on (date) ; or

Cl: | left the summons at the individual's residence or usual place of abode with (name) , a person of sultable age and -.
discretion who resides there, on , and mailed a copy to the individual's last known address; or

Cc | served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

| returned the summons unexecuted because Disallowed after attempting service at 950 Pennsylvania Avenue
Northwest, Washington, DC 20530; or

i
Oo Other (specify)

My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.

! declare under penalty of perjury that this information is true.

A>

Server's signature

Delpheny Outland

Printad name and tifle

7904 Knollwood St.
Brandywine, MD 20613

Server's addrass

Additional information regarding attempted service, etc:

11/1/2023 1:29 PM: | spoke with an individual who identified themselves as the officer jones and they stated service
not permitted,

Be uN

